Case 4:22-cr-20539-SDK-Cl ECF No. 15, PagelD.36 PTY lofi

AUSA:  DePorre

NOP 4d (ees 0G GL) Arrest Wearrart Special Agent Hust AGE

(810) 766 517?
(810) 34-5710

UNITED STATES DISTRICT COURT 20 28

for the
Eastern District of Michigan

 

 

 

Ici fark US Cistrict Court
Eastarn Destuct of Michigan

 

  

 

By s/Kristen MacKay
United States of America Case: 4:22-mj -30-401 Bes 'y
v. Assigned To : Ivy, Curtis, Jr
Se] - Gf 1992?
Ramiro Barajas. Assign. Date : 9/19/2092

Description: IN RE. SEAL. ED MATTER (kem)

 

ARREST warrant 94 on

To: Any authorized law enforcement officer . 5 8 La mat
: os FLINT, MiCHiGas
YOU ARE COMMANDED to arrest and bring before a Linited States magistrate judge without unnecessary delay

face of person ia he arre ystecty Ramiro Barajas,

who 1s accused of an offense or violation based on the following document filed with the court:

[] Indictment tj Superseding Indictment ] Information LC] Superseding Information Complaint

[J Probation Violation Petition C] Supervised Release Violation Petition LJ] Viotation Notice C] Order of the Court

This offense is briefly described as follows:

On of about August 31, 2021 and on January 12, 2022, in the Eastern District of Michigan, Ramiro Cox Barajas, knowing that he had been
convicted of a crime punishable by imprisonment for a term exceeding one year. and knowing that he was an unlawful user of a controlled

substance. specifically methamphetamine, knowingly possessed, in or affecting commerce, firearms and ammunition in violation of 18
U.S.C. § 922,92) and [8 U.S C. § 973( 23).

Cr
Date. September 19, 2022 meee

Issuing officer's signature

City and state: Flint, Mi Curtis Ivy, Jr, U.S. Magistrate Judge __

Proved namie cui tile

 

Return

 

al fcity and state)

cae Ges Jer Sit
aA S,

This warrant was received on ‘tures afrt/2e . and the person was arrested on tate, 9/2 fez

   

frresting officers signet

ATF

Printect ndove ail title

 

 

 

Orstribution Original Court feajn (8 Marshal. 2 copres (SA

 
